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                        EXHIBIT A
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           DEFENDANTS’ REPLY IN SUPPORT OF MOTIONS TO COMPEL AND FOR
                    RECONSIDERATION OF MOTION TO COMPEL
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 1                       IN THE UNITED STATES DISTRICT COURT
 2                   FOR THE SOUTHERN DISTRICT OF CALIFORNIA
 3
     UNITED STATES OF AMERICA,                      Case No. 18-CR-4683-GPC
 4                                                  Honorable Gonzalo P. Curiel
                    Plaintiff,
 5
                                                   DEFENDANTS' REPLY TO
 6            v.                                   GOVERNMENT’S
                                                   CONSOLIDATED OPPOSITION
 7   JACOB BYCHAK, et al.,
                                                   [Filed concurrently with Declaration of
 8                                                 Randy K. Jones and Defendants’ Joint
                    Defendants                     Motion for Leave to File Reply]
 9
              Defendants Jacob Bychak, Mark Manoogian, Mohammed Abdul Qayyum,
10
     and Petr Pacas (jointly, Defendants”) hereby reply to the consolidated opposition to
11
     the Defendants’ Motions for Spamhaus’s History of Government Contacts &
12
     Reconsideration regarding the Confidential Informant [Dkt. No. 283] (the
13
     “Opposition”) filed by the government on September 27, 2021.
14
     I.      INTRODUCTION
15
              From the outset, the government’s investigation has been guided by the
16
     Spamhaus Informant (“SI”). In his own words, the SI has spent “literally thousands
17
     of hours” investigating Company A and the Defendants, and “[e]verything
18
     [Spamhaus] dug up was of course sent along to FBI.” See Under Seal Ex. 14 at
19
     ADCONION-DISC45-00005 to Opposition.1 As a result, Defendants’ Motion to
20
     Compel Discovery Regarding Spamhaus’s Cooperation with Governmental
21
     Investigations contemplated a Fourth Amendment challenge based on the SI’s illegal
22
     seizure of Company A’s documents. Dkt. No. 281.
23
              Since then, the SI has found new ways to remain involved in the investigation,
24
     and new ways to violate Defendants’ constitutional rights that justify the relief sought
25
26
27
     1
         All under seal exhibits referenced herein were filed in support of the Opposition.
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              DEFENDANTS’ REPLY IN SUPPORT OF MOTIONS TO COMPEL AND FOR
                       RECONSIDERATION OF MOTION TO COMPEL
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 1   in Defendants’ motion. Like a mosquito drawn to an ultraviolet light, the SI is
 2   surveilling defense counsels’ internet activity, sharing their private data and internet-
 3   based research with the government, and invading the work product privilege by
 4   providing a window into the defense’s mental impressions and strategy. Thus, while
 5   the government is fighting tooth-and-nail to keep the SI’s identity out of the case, it
 6   is simultaneously receiving a steady stream of information from the SI.
 7         Intentional invasion of the defense camp seriously undermines Defendants’
 8   constitutional right to due process under the Fifth Amendment and right to counsel
 9   under the Sixth Amendment. It also underscores Defendants’ need to investigate
10   whether the SI engaged in a pattern or practice of illegal behavior in the course of
11   cooperating with government’s investigations, and the extent to which the
12   government has known about or acquiesced to this outrageous conduct.2 In addition
13   to the bases set forth in the motion, such discovery is necessary for Defendants to
14   ascertain and seek remedy for the SI’s invasion of the defense camp. See In re Grand
15   Jury Subpoenas, 454 F.3d 511, 517 (6th Cir. 2006) (“leaking of privileged materials
16   to investigators would raise the spectre of Kastigar-like evidentiary hearings.”)
17   (Referencing United States v. Kastigar, 406 U.S. 441 (1972)).
18   III. ARGUMENT
19         The SI’s outrageous, unethical, and potentially illegal conduct—and the
20   government’s unwillingness to immediately halt it—is alarming. Defendants’ motion
21   detailed the SI’s apparent theft of Company A documents and efforts to pass along
22   attorney-client communications contained in them to the government. Since the filing
23   of the government’s opposition, the SI has crossed legal and ethical boundaries by
24   surveilling and sharing with the government defense counsel’s private internet-based
25   research. It is more essential than ever that Defendants have an opportunity to
26
27   2
       Defendants seek the SI’s and Spamhaus’ contact with the government on other
     criminal investigations to determine if this conduct is standard operating procedure.
28
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            DEFENDANTS’ REPLY IN SUPPORT OF MOTIONS TO COMPEL AND FOR
                     RECONSIDERATION OF MOTION TO COMPEL
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 1   investigate his conduct. The SI has intentionally intruded upon defense counsel’s trial
 2   preparations in violation of Defendants’ constitutional rights, but also appears to have
 3   transgressed internet privacy laws. This raises further concerns about the use of
 4   illegally obtained evidence in this case.
 5        A.     Applicable Law
 6         The work-product doctrine applies to criminal litigation. United States v.
 7   Nobles, 422 U.S. 225, 236 (1975). “At its core, the work-product doctrine shelters
 8   the mental processes of the attorney, providing a privileged area within which he can
 9   analyze and prepare his client’s case.” Id. at 238. A defense attorney’s investigation
10   into his client’s alleged conduct constitutes work product. See United States v. Horn,
11   811 F. Supp. 739, 746 (D.N.H. 1992); see also United States v. June, 10-30021, 2011
12   WL 5330788, at *2 (D. Mass Oct. 19, 2011). The government is forbidden from
13   eavesdropping or planting agents to hear or disrupt councils of the defense. See, e.g.,
14   United States v. Henry, 447 U.S. 264 (1980) (government violated the Sixth
15   Amendment for using informant to obtain incriminating statements); Black v. United
16   States, 385 U.S. 26 (1966) (vacating conviction and ordering new trial where FBI
17   monitored petitioner and his attorney’s conversations in an unrelated matter and later
18   shared that information with the prosecution team); see also In re Terkeltoub, 256 F.
19   Supp. 683, 685 (S.D.N.Y. 1966) (“The defendant has the right to prepare in secret …
20   The prosecution’s secret intrusion offends both the Fifth and Sixth Amendment.”)
21   (citations omitted).
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           DEFENDANTS’ REPLY IN SUPPORT OF MOTIONS TO COMPEL AND FOR
                    RECONSIDERATION OF MOTION TO COMPEL
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 1        B.     Evidence of the SI’s Willingness to Flaunt Legal and Ethical
                 Boundaries is Probative of His Routine Information Gathering
 2
                 Practices Which the Defendants Must Be Able to Explore
 3
           The government conveniently fails to inform the Court of the SI’s recent
 4
     activities until the last lines of its brief in the apparent hope the Court will overlook
 5
     his recent conduct. But the Court should not ignore that the SI is growing bolder as
 6
     this case progresses, taking steps that threaten the integrity of the case, and
 7
     demonstrating a pattern and practice of flaunting the legal and ethical lines designed
 8
     to protect the Defendants’ constitutional rights.
 9
           First, as discussed in the Defendants’ Motion to Compel Discovery Regarding
10
     Spamhaus’s Cooperation with Governmental Investigations (Dkt. No. 281-1), the SI
11
     knowingly accepted and passed stolen documents from Company A to the
12
     government, raising Fourth Amendment concerns. When the Court ordered the SI to
13
     identify the stolen documents, he revealed that he had actually summarized the
14
     illegally obtained emails in order to circumvent any attorney-client privilege claims
15
     down the road. See Dkt. No. 281-5. Whether the government first obtained these
16
     emails from another source, intends to use these specific documents in its case-in-
17
     chief, or even whether the prosecutors personally reviewed them is beside the point.
18
     The SI’s willingness to use ill-gotten communications is material to the issue of
19
     whether the government’s case is legally and ethically compromised. Indeed, what
20
     privileged information has been “sanitized” and passed to the government or its
21
     agents by the SI, and how that information may have been used to develop this case,
22
     is critical to evaluating whether and to what extent the government’s case is tainted
23
     by the SI’s intrusion into the attorney-client privilege and attorney work product.
24
     Defendants must be allowed to not only investigate this further, but also prepare their
25
     defense without derivative government intrusion. Moreover, the government’s
26
     acquiescence to such investigatory practices is material to Defendants’ position that
27
     the SI is a state actor, and the full relationship between the SI, Spamhaus, and the
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            DEFENDANTS’ REPLY IN SUPPORT OF MOTIONS TO COMPEL AND FOR
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 1   government is relevant not only to the Court’s resolution of that motion, but also for
 2   Defendants to mount an effective defense and bring all necessary pretrial motions.
 3         Furthermore, the SI’s outrageous, unethical, and potentially illegal actions are
 4   not a singular lapse of judgment. To the contrary, documents in government
 5   productions 45 and 46—both of which were produced in the last several days—reveal
 6   that the SI has been monitoring defense counsels’ internet activity and abusing his
 7   access to defense counsels’ private data collected by Spamhaus. The SI has passed
 8   this information to the government, raising further concerns about Defendants’ Fifth
 9   and Sixth Amendment rights. Specifically, the documents show that the SI used
10   Spamhaus data to determine that one defense counsel’s law firm uses an email
11   filtering system that subscribes to Spamhaus data, which, according to the SI, makes
12   the attorney a “lying lawyer.” See Under Seal Ex. 14 at ADCONION-DISC45-00001.
13   These emails further suggest the SI is trying to intimidate the defense team. More
14   shocking, on September 26, 2021, the SI emailed the government to share
15   information about searches that multiple defense lawyers conducted on the Spamhaus
16   website, including the dates and times defense counsel searched the website, their
17   search terms, IP addresses, and the physical locations from which defense counsel
18   conducted the searches—in other words, the metadata pertaining to Defense
19   counsels’ pretrial research. See Declaration of Randy Jones at ¶ 2.
20         This conduct is highly unethical and inappropriate, and is an intrusion into
21   defense counsels’ work product revealing their research and preparations for trial.
22   See Nobles, 422 U.S. at 238 (1975) (the work product doctrine “assur[es] the proper
23   functioning of the criminal justice system”); United States v. Wirth, No. CRIM. 11-
24   256 ADM/JJK, 2012 WL 1110540, at *4 (D. Minn. Apr. 3, 2012) (document
25   metadata, “almost by definition, shows the [attorneys’] mental processes … by
26   revealing the [attorneys’] … decisions and steps” and, therefore, constitutes
27   “‘opinion work product’ entitled to stronger protection than other types of work
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           DEFENDANTS’ REPLY IN SUPPORT OF MOTIONS TO COMPEL AND FOR
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 1   product”); United States v. Segal, No. 02-CR-112, 2004 WL 830428, at *8 (N.D. Ill.
 2   Apr. 16, 2004) (“[S]earch terms … provide a window into the attorney’s thinking”
 3   and “indicate that [the attorney] was researching the claims at the heart of the present
 4   litigation”). The SI shared the defense camp’s work product and other information
 5   the government could not obtain short of a subpoena. But an attorney’s preparations
 6   for litigation are not discoverable and cannot be used to inculpate a defendant at trial.
 7   See Mattenson v. Baxter Healthcare Corp., 438 F.3d 763 (7th Cir. 2006) (explaining
 8   that “[t]he work-product doctrine shields materials … on the theory that the opponent
 9   should not be allowed to … invite the jury to treat candid internal assessments of a
10   party's legal vulnerabilities as admissions of guilt”).3
11         If the SI is performing these searches at the government’s behest, he is clearly
12   a government agent. But even if they have not asked the SI to do this, the FBI agents
13   and federal prosecutors have not told him to stop. This is cause for grave concern.
14   See United States v. Reed, 15 F.3d 928, 931 (9th Cir. 1994). Criminal defendants
15   possess robust constitutional rights to a fair trial, including the right to prepare for
16   trial in secret. In re Terkeltoub, 256 F. Supp. 683, 685 (S.D.N.Y. 1966). Mere
17   possession by the prosecution of otherwise confidential knowledge about the defense
18   strategy is sufficient in itself to establish detriment to the criminal defendant. See
19   United States v. Danielson, 325 F.3d 1054, 1068 (9th Cir. 2003), as amended (May
20   19, 2003) (“[O]nce the [prosecution] learned [informant] had obtained trial strategy
21   information (and therefore knew that he might learn more such information in future
22   conversations), the prosecution team was on notice of a potential Sixth Amendment
23   violation if [informant], now acting on behalf of the government, continued to
24   [provide information].”) (emphasis added); Briggs v. Goodwin, 698 F.2d 486, 494-
25
26
     3
       As if providing information on the defense counsels’ preparation was not enough,
27   the SI also provided the government access to the Spamhaus database to perform its
     own searches as to the Defendants’ case preparation. See Dkt. No. 257-4.
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            DEFENDANTS’ REPLY IN SUPPORT OF MOTIONS TO COMPEL AND FOR
                     RECONSIDERATION OF MOTION TO COMPEL
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 1   95 (D.C. Cir.) (quoting Weatherford v. Bursey, 429 U.S. 545, 556 (1977), reh’g
 2   granted and opinion vacated on other grounds, 712 F.2d 1444 (D.C. Cir. 1983).
 3         Here, the government has failed to take any “measures to safeguard the system
 4   against treachery.” See United States v. Bernal-Obeso, 989 F.2d 331, 333-34 (9th
 5   Cir. 1993). Whether it is determined that the SI is a state actor or not, the government
 6   still has a duty not to accept, allow, or overlook third-party behavior that jeopardizes
 7   a defendant’s Fifth and Sixth Amendment constitutional rights. See United States v.
 8   Levy, 577 F.2d 200, 209 (3d Cir. 1978) (“Free two-way communication between
 9   client and attorney is essential if the professional assistance guaranteed by the sixth
10   amendment is to be meaningful. The purpose . . . is inextricably linked to the very
11   integrity and accuracy of the fact finding process itself. Even guilty individuals are
12   entitled to be advised of strategies for their defense . . . [A]ny advice received as a
13   result of a defendant’s disclosure to counsel must be insulated from the
14   government.”); see also ABA Criminal Justice Standards for Prosecutorial
15   Investigations, Standard 2.5(j) “The prosecutor should guard against the cooperator
16   obtaining information from others that invades the attorney-client or work product
17   privileges or violates the Sixth Amendment right to counsel.”4
18         The SI’s egregious conduct, paired with the government’s acquiescence and
19   complacency, has materially harmed Defendants’ ability to mount an effective
20   defense. Dismissal with prejudice or disqualification of the prosecutorial team may
21   be appropriate remedies. See United States v. Levy, 577 F.2d 200, 208 (3rd Cir. 1978)
22   (holding dismissal of indictment an appropriate remedy when defendant’s Sixth
23
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     4
       The ABA Model Rules of Professional Conduct rules also apply. Rule 4.4(a): … “a
25   lawyer shall not use . . . methods of obtaining evidence that violate the legal rights
     of such a person” (emphasis added). Comment 1 thereto explains this includes “legal
26   restrictions on methods of obtaining evidence . . . and unwarranted intrusions into
     privileged relationships, such as the client- lawyer relationship” (emphasis added);
27   and see Rule 8.4(a) (It is professional misconduct for a prosecutor to violate an ethics
     rule through the acts of another, such as an informant).
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           DEFENDANTS’ REPLY IN SUPPORT OF MOTIONS TO COMPEL AND FOR
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 1   Amendment violated by codefendant, who was actually a government informant,
 2   disclosing defense strategy to the government). For now, Defendants must be
 3   permitted to learn the SI’s identity and an evidentiary hearing with appropriate
 4   discovery must occur to determine the extent of the SI’s conduct and its impact on
 5   Defendants’ constitutional rights and trial.
 6         Second, the SI’s conduct runs amok of numerous privacy laws, obligations as
 7   an information fiduciary, and Spamhaus’ own privacy policies. By collecting and
 8   sharing defense counsels’ private data without their knowledge or consent, the SI has
 9   shown an outrageous disregard for privacy laws. The SI undoubtedly knows from his
10   line of work that names and online identifiers of the attorneys for the defendants
11   constitute “personal information” subject to stringent safeguards under both
12   California and international law. See, e.g., Cal. Civ. Code § 1798.140 (v)(1)(A)
13   (defining “personal information” to include “[i]dentifiers such as a real name, …
14   unique personal identifier, online identifier, Internet Protocol address, [or] email
15   address”); European General Data Protection Regulation (“GDPR”), Art. 4 (1)
16   (defining “personal data” to include “any information relating to an identified or
17   identifiable natural person,” including by means of an “online identifier”). Under
18   these strict laws, entities collecting personal information are obligated, at a minimum,
19   to advise users of the categories of personal information they collect, and the
20   purposes for which that information is used.5 That did not occur here.
21         According to Spamhaus’ data privacy policy, it collects personal information
22   for five purposes. The only remotely applicable purpose is: “5) To gather and provide
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24
     5
       See, e.g., Cal. Civ. Code § 1798.100 (“A business shall not collect additional
25   categories of personal information or use personal information collected for
     additional purposes that are incompatible with the disclosed purpose for which the
26   personal information was collected without providing the consumer with notice
     consistent with this section.”); see also GDPR Art. 5-6 (setting forth restrictions on
27   the “collection” and “processing” of personal data); id. at Art. 49 (setting forth
     restrictions on “transfers” of personal data).
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           DEFENDANTS’ REPLY IN SUPPORT OF MOTIONS TO COMPEL AND FOR
                    RECONSIDERATION OF MOTION TO COMPEL
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 1   information required by or relating to audits, enquiries or investigations by regulatory
 2   bodies or law enforcement authorities, and to assist service providers through actor
 3   attribution within the Register of Known Spam Operations database (“ROKSO”).”6
 4   The government cannot legitimately contend that the sharing of defense counsels’
 5   personal data – including their names, online identifiers of their office computers,
 6   and the search terms they entered on the Spamhaus website – comports with any
 7   legitimate purpose; nor were defense counsel advised that their personal information
 8   would be used in this manner. This demonstrates that the SI is not only willing to
 9   break ethical rules, but is also willing to break privacy laws, and his own
10   organizations policies on the legitimate use of the data it collects. This is a disturbing,
11   win-at-all costs, mentality that infects the government’s case and curtails
12   Defendants’ constitutional rights. The parties must determine the degree to which the
13   case has been tainted.
14         As previously mentioned, the SI has guided the government’s investigation
15   from the beginning. Defendants have now presented the Court with multiple
16   instances of the lengths the SI is willing to go to gain an unfair advantage, and the
17   government, if not encouraging this behavior, is certainly not stopping him. If the SI
18   has engaged in similar conduct in his past or yet to be disclosed in this matter, it is
19   undoubtedly material under Rule 16 and exculpatory and impeaching under Brady
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       The other four are: 1) To register a new customer; 2) To manage Spamhaus’
25   relationship with the customer; 3) To administer and protect Spamhaus’ business and
     website through troubleshooting, data analysis, testing, system maintenance, support,
26   or other functions; and 4) To use data analytics to improve the website,
     products/services, marketing, customer relationships and experiences.
27   https://www.spamhaus.org/organization/privacy/#4.
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            DEFENDANTS’ REPLY IN SUPPORT OF MOTIONS TO COMPEL AND FOR
                     RECONSIDERATION OF MOTION TO COMPEL
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 1   and Giglio.7 Defendants must be permitted to use the SI’s identity, conduct, and
 2   extent of his involvement with the government on this case to present their defense,
 3   and to seek remedies for any constitutional violations engendered by the information
 4   he has gathered and provided to the government.
 5   IV. CONCLUSION
 6         The SI’s egregious conduct and the government’s acquiescence and
 7   complacency has materially harmed Defendants’ ability to mount an effective
 8   defense. Defendants must be permitted to use the SI’s identity and provided an
 9   evidentiary hearing with appropriate discovery to determine the extent of the SI’s
10   conduct and its impact on Defendants’ constitutional rights and trial preparation.
11
12                                                Respectfully Submitted,
13                                                /s/ Randy K. Jones
                                                  Randy K. Jones
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       The government fails to appreciate the low threshold required in the Ninth Circuit
22   to demonstrate materiality under Rule 16. Information is material if it is relevant to
     a possible defense, United States v. Stever, 603 F.3d 747, 752 (9th Cir. 2010), and
23   includes both inculpatory and exculpatory information, United States v. Muniz-
     Jaquez, 718 F.3d 1180, 1183 (9th Cir. 2013) (“Information that is not exculpatory or
24   impeaching may still be relevant to developing a possible defense.”). Even
     information that merely “causes a defendant to completely abandon a planned
25   defense and take an entirely different path” must be disclosed under Rule 16’s broad
     discovery right. United States v. Hernandez-Meza, 720 F.3d 760, 768 (9th Cir. 2013)
26   (internal quotation marks omitted). As the Ninth Circuit explained, “[t]he test is not
     whether the discovery is admissible at trial, but whether the discovery may assist [the
27   defendant] in formulating a defense.” United States v. Soto-Zuniga, 837 F.3d 992,
     1003 (9th Cir. 2016).
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           DEFENDANTS’ REPLY IN SUPPORT OF MOTIONS TO COMPEL AND FOR
                    RECONSIDERATION OF MOTION TO COMPEL
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28                                     11
           DEFENDANTS’ REPLY IN SUPPORT OF MOTIONS TO COMPEL AND FOR
                    RECONSIDERATION OF MOTION TO COMPEL
Case 3:18-cr-04683-GPC Document 288-1 Filed 10/01/21 PageID.3455 Page 14 of 15




 1         CERTIFICATE OF AUTHORIZATION TO SIGN ELECTRONIC
 2                                      SIGNATURE
 3         Pursuant to section 2(f)(4) of the Electronic Case Filing Administrative
 4   Policies and Procedures of the United States District Court for the Southern District
 5   of California, I certify that the content of this document is acceptable to counsel for
 6   the Defendants and that I have obtained authorization from Jessica C. Munk, Whitney
 7   Z. Bernstein, and Nicole Rodriguez Van Dyk.
 8
 9   Dated: October 1, 2021                    By: /s/ Randy K. Jones
                                                   Randy K. Jones
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           DEFENDANTS’ REPLY IN SUPPORT OF MOTIONS TO COMPEL AND FOR
                    RECONSIDERATION OF MOTION TO COMPEL
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 1                               CERTIFICATE OF SERVICE
 2            Counsel for Defendant certifies that the foregoing pleading has been
 3    electronically served on the following parties by virtue of their registration with the
 4    CM/ECF system:
 5                                  AUSA Melanie K. Pierson
                                     AUSA Sabrina L. Feve
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12                                  Department of Justice
13                           1301 New York Avenue NW, Suite 600
                                    Washington, DC 20530
14                                candina.heath2@usdoj.gov
15
              I certify under penalty of perjury under the laws of the United States of
16
      America that the foregoing is true and correct.
17
              Executed on October 1, 2021, at San Diego, California.
18
19                                            /s/ Randy K. Jones
                                              Randy K. Jones
20
21   117063042v.9

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                                     CERTIFICATE OF SERVICE
